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                  UNITED STATES BANKRUPTCY COURT
                   FOR THE DISTRICT OF NEW JERSEY
    ________________________
                             :CASE NO.: 19-23410
    IN THE MATTER OF         :
    ANTHONY BIASI            :Hon. Stacey L. Meisel
                             :
                     Debtor :
    _______________________ :

    CERTIFICATION OF COUNSEL IN SUPPORT OF THE MOTION TO BE
                 RELIEVED AS DEBTOR’S COUNSEL

       I, Steven J. Martino, Esq., hereby certify as follows:

       1. I am the attorney for the Debtor, Anthony Biasi, in the above-captioned

    matter. I submit this Certification in support of my Motion to be relieved as

    debtor’s counsel in the above-captioned matter.

       2. I was retained by the debtor to represent him with respect to the filing of a

    Petition Under Chapter 13 of the US Bankruptcy Code on June 20, 2019. See

    Retainer Agreement attached hereto as Exhibit “A”.

       3. During the pendency of this matter, there were several Motions that needed

    to be addressed, including a Motion to Vacate the Automatic Stay and a Motion

    Objecting to a Proof of Claim. I continued to represent the debtor with respect to

    these matters even though my Retainer Agreement did not require me to do so. In

    addition, I did not charge the debtor any additional retainer for this representation.
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       4. In addition, I had to file a Notice of Motion to Approve a settlement the

    debtor was receiving with respect to a lawsuit. Again, I did not charge the debtor

    any additional retainer for same.

       5. I have appeared on the debtor’s behalf numerous times in this matter,

    including August 6, 2019, September 11, 2019, October 23, 2019, November 13,

    2019, January 8, 2020, February 26, 2020 and March 11, 2020.              .

       6. The Chapter 13 Plan was confirmed on March 12, 2020.

       7. There is now pending before the Court, Trustee’s Motion to Dismiss for

    Debtor’s failure to make payments under his Chapter 13 Plan. I have not been

    retained to represent the Debtor with respect to said Motion and debtor has not

    agreed to pay me any additional fees.

       8. As such, I ask that I be relieved as counsel for the debtor.

       I hereby certify that the foregoing statements made by me are true. I am aware

    if any of the foregoing statements made by me are willfully false, I am subject to

    punishment.

                                              /s/ Steven J. Martino, Esq.
    Dated: August 12, 2020                  STEVEN J. MARTINO, ESQ.
